                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                               No. 17-CR-2022-LRR
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 JOHN MINTEER,                                     RECOMMENDATION
                                               CONCERNING DEFENDANT’S
                Defendant.                            GUILTY PLEA
                                 ____________________

                       I. INTRODUCTION AND BACKGROUND
        On May 3, 2017, a one-count Indictment was filed against Defendant John Minteer.
On October 2, 2017, Defendant appeared before United States Chief Magistrate Judge
C.J. Williams and entered a plea of guilty to Count 1 of the Indictment. On October 2,
2017, Judge Williams filed a Report and Recommendation in which he recommended that
the court accept Defendant’s guilty plea. On October 2, 2017, both parties waived
objections to the Report and Recommendation. The court, therefore, undertakes the
necessary review of Judge Williams’s recommendation to accept Defendant’s plea in this
case.
                                    II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the
               findings or recommendations made by the magistrate judge.

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Criminal Procedure 59(b) provides for


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review of a magistrate judge’s report and recommendation on dispositive motions, where
objections are made, as follows:
              The district judge must consider de novo any objection to the
              magistrate judge's recommendation. The district judge may
              accept, reject, or modify the recommendation, receive further
              evidence, or resubmit the matter to the magistrate judge with
              instructions.
Fed. R. Civ. P. 59(b)(3).1
       In this case, the parties waived objections to the Report and Recommendation, and
it appears to the court upon review of Judge Williams’s findings and conclusions that there
is no ground to reject or modify them. Therefore, the court ACCEPTS Judge Williams’s
Report and Recommendation of October 2, 2017, and ACCEPTS Defendant’s plea of
guilty to Count 1 of the Indictment.
       IT IS SO ORDERED.
       DATED this 2nd day of October, 2017.




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         United States v. Cortez-Hernandez, 673 F. App’x 587, 590-91 (8th Cir. 2016)
(per curiam), suggests that a defendant may have the right to de novo review of a
magistrate judge’s recommendation to accept a plea of guilty even if no objection is filed.
But see 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). The district court judge will
undertake a de novo review of the Report and Recommendation if a written request for
such review is filed within fourteen days after this order is filed.

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